Case: 1:21-cv-01248-PAB Doc #: 1-4 Filed: 06/25/21 1 of 5. PageID #: 29




               EXHIBIT 3
             Case: 1:21-cv-01248-PAB Doc #: 1-4 Filed: 06/25/21 2 of 5. PageID #: 30



I!           Cleveland       Columbus           Cincinnati       New Jersey          New York


216-373-0539Notfces@DannLaw. oom                 216-373-0536
  Telephone                                         Emal/                                            Fax

     February 17, 2021

     Rushmore Loan Management Services LLC
     P .0. Box 52262
     Irvine, CA 92619

     *Sent via Certified Mail return receipt requested [ 70201810 0001 5613 0148]

     In the Matter of:

              Bouower's Name:              Timothy J. Richissin
                                           Heidi C. Richissin
              Property Address:            3632 Berkeley Lane
                                           Brunswick OH 44212-1590
              Mortgage Account No.:

     **If responding to this correspondence by e-mail, please send to notices@,dannlaw.com

     Re:      Notice of Error pursuant to 12 C.F.R. §1024.35(b)(ll) for Breach of Settlement
              Agreement

                Dear Sir or Madam:

    Please consider this letter to constitute a Notice of Errors under 12 C.F .R. § 1024.35 of Regulation
    X of the Mortgage Servicing Act under the Real Estate Settlement Procedures Act (RESP A), which
    became effective on January 10, 2014. These amendments impletnented the Dodd-Frank Wall
    Street Reform and Consumer Protection Act provisions regarding mortgage loan servicing.

     Pursuant to 12 C.F.R. § 1024.35(d), within five (5) days of your receipt of this notice, excluding
     legal public holidays, Saturdays and Sw1days, you must send a written response aclmowledging
     such receipt.

     Pursuant to 12 C.F.R. § l024.35(e)(3)(i)(C), wit/Jin thirty (30) days of your receipt ofthis notice,
     excluding legal public holidays, Saturdays and Sundays, you must send a written response to this
     notice in compliance with the express requirements of 12 C.F.R. § 1024.35(e)(l).

     The written authority of the above-referenced borrower (the "Borrower") for this notice is
     incorporated herein by this reference.

           1. Notice of Error under 12 C.F.R. §1024.35(b)(ll) for B1·each of Settlement Agreement
     As you are aware the BoITowers and Rushmore were parties in Timothy J Richissin, et al. v.

 Mailing Address                                 DannLaw.com                                   Physical Address
 PO Box 6031040                                  877-475-8100                          2728 Euclid Ave Suite 300
 Clevelan<J OH 44103                                                                       Cleveland OH 44115
            Case: 1:21-cv-01248-PAB Doc #: 1-4 Filed: 06/25/21 3 of 5. PageID #: 31




     Rushmore Loan Management Services LLC, et al, Case No. 1:20-cv-00871-PAG in the United
     States District Court for the Southern District of Ohio. (the "Litigation").

     As you are aware in the Litigation, the Richissins and Rushmore reached a confidential settlement
     agreement, attached in full but redacted as to the non-pertinent provisions in compliance with
     Paragraph 17 of the agreement, in which Rushmore agreed to (1) Reinstatement of the Loan for
     all payments due from August 2020 and December 23, 2020 (Paragraph 5 of the Agreement) and
     (2) Waiver of all fees from August 2020 through December 23, 2020 in exchange (Paragraph 6 of
     the Agreement) for the Richissins payment of $4,500.00.

     The Richissins performed their obligations before December 23, 2020 by remitting the payment
     as instructed by your counsel to her office.

     The Richissins signed the settlement agreement on December 28, 2020 and Tim Lightfoot, Vice
     President of Rushmore, signed the agreement as of January 8, 2021.

     Since the execution of the settlement agreement the Richissins have remitted the necessary
     payments due on December 24, 2020 and January 24, 2021. In reviewing the attached mortgage
     statement as well as reviewing the account history online, the Richissins have noticed that
     Rushmore has:

         1. Noted a past unpaid amount of $4,677.36 on the December 4, 2020 statement;
         2. Noted a past unpaid amount of $2,338.68 on the January 24, 2021 statement;
         3. Assessed Inspection Fees on the January 24, 2021 statement on January 21, 2021 in the
            amountof$16.50; and
         4. According to the February 4, 2021 statement, failed to apply the tendered payment made
            on or before January 26, 2021.

     The Borrowers assert that Rushmore has committed at least three (3) separate, distinct and on-
     going errors pursuant to 12 C.F.R. 1024.35(b)(ll) as (1) Rushmore has sought to collect
     inconsistent amounts with the December 2020, January 2021 and February 2021 statements;
     (2) Rushmore has failed to properly apply the tendered payments since December 23, 2020
     consistent with the terms of the Settlement Agreement and (3) Rushmore has improperlv
     assessed late fees and charges in the January 2021 and February 2021 periodic billing
     statements.

     Conclusion and requested actions:

     Based upon the foregoing, the Borrower calculates and otherwise alleges that Rushmore has
     committed no less than a total of three (3) errors in the servicing ofthe Loan as described supra.



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          Case: 1:21-cv-01248-PAB Doc #: 1-4 Filed: 06/25/21 4 of 5. PageID #: 32




   The Borrowers demand that Rushmore immediately honor the tenns of the Settlement Agreement,
   audit the tendered payments since December 1, 2020, and make all necessaiy adjustments.

   Please correct these errors and provide us with notification of the correction(s), the date of the
   correction(s), and contact information for further assistance; or, after conducting a reasonable
   investigation, provide the Borrower, through our office, with a written notification that includes:
   a statement that you have determined that no error(s) occurred; a statement of the reason(s) for
   such determination; a statement of the Borrower's right to request documents upon which you
   relied in reaching your determination; information regarding how the Borrower can request such
   documents; and, contact information for further assistance.

   Further, please note that pursuant to 12 C.F.R. § 1024.35(i), after you receive this notice, you are
   prohibited from furnishing adverse information to any consumer credit reporting agency regarding
   any payment that is the subject of this notice for at least sixty (60) days.

                                                 Thank you.

                                                 DANNLAW



                                                 Brian D. Flick

   Enclosures: Settlement Agreement, Proof of Payments




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Cleveland OH 44103                                                                        Cleveland OH 44115
Case: 1:21-cv-01248-PAB Doc #: 1-4 Filed: 06/25/21 5 of 5. PageID #: 33

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